            Case 2:09-cr-00103-JCC              Document 70     Filed 10/28/10    Page 1 of 2




 1

 2

 3

 4

 5

 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                                 Plaintiff,          )      Case No. CR09-103-JCC
                                                       )
10                          v.                         )      DETENTION ORDER
                                                       )
11 HUY DUY HOANG,                                      )
                                                       )
12                                 Defendant.          )

13 Offense charged:

14       Conspiracy to Distribute Controlled Substances.

15 Date of Detention Hearing: October 28, 2010.

16       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which the defendant can meet will reasonably

19 assure the appearance of the defendant as required and the safety of any other person and the

20 community.

21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22       Defendant is charged with a serious drug offense and faces a mandatory minimum prison

23 term if he is convicted. He is a Canadian citizen who resides and works in Nova Scotia where



     DETENTION ORDER - 1
               Case 2:09-cr-00103-JCC        Document 70        Filed 10/28/10      Page 2 of 2




 1 pretrial supervision is not available. He proposes to move to Vancouver, Canada but at present

 2 has no place to live there or employment.

 3       It is therefore ORDERED:

 4       (1)        Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6 from persons awaiting or serving sentences, or being held in custody pending appeal;

 7       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9       (3)        On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined

11 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

12 connection with a court proceeding; and

13       (4)        The clerk shall direct copies of this order to counsel for the United States, to

14 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

15 Officer.

16       DATED this 28th day of October, 2010.

17

18

19

20
                                                           A
                                                           BRIAN A. TSUCHIDA
                                                           United States Magistrate Judge
21

22

23



     DETENTION ORDER - 2
